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                                                                                                                                File No. CA-16-128695


  Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
  JaVonne M. Phillips, Esq., SBN 187474
  Kelly M. Raftery, Esq., SBN 249195
  McCarthy & Holthus, LLP
  1770 Fourth Avenue
  San Diego, California 92101

  Phone (619) 685-4800 Ext. 1834
  Fax (619) 685-4810
  bknotice@mccarthyholthus.com




           Movant appearing without an attorney
           Attorney for Movant
                                             UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION

  In re:                                                                        CASE NO.: 6:16-bk-16877-WJ
  Russel Dennis Hiles, III
                                                                                CHAPTER: 11

                                                                                           NOTICE OF MOTION AND MOTION
                                                                                          FOR RELIEF FROM THE AUTOMATIC
                                                                                             STAY UNDER 11 U.S.C. § 362
                                                                                            (with supporting declarations)
                                                                                                  (REAL PROPERTY)

                                                                                DATE: 9/21/2017
                                                                                TIME: 10:00 AM
                                                                  Debtor(s).    COURTROOM: 304
  MOVANT: Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust A, its assignees
  and/or successors

 1.   Hearing Location:
             255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
             21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
             3420 Twelfth Street, Riverside, CA 92501

 2.   Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
      parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
      granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
      attached Motion.

 3.   To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
      preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
      the format required by LBR 9004-1 and the Court Manual.




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 4.    When serving a response to the motion, serve a copy of it upon the Movant’s attorney (or upon Movant, if the motion
       was filed by an unrepresented individual) at the address set forth above.

 5.    If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
       such failure as consent to granting of the motion.

 6.           This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
              you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
              the hearing.

 7.           This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
              motion, you must file and serve a response no later than (date) _________ and (time) _________; and, you
              may appear at the hearing.

       a.         An application for order setting hearing on shortened notice was not required (according to the calendaring
                  procedures of the assigned judge).

       b.         An application for order setting hearing on shortened notice was filed and was granted by the court and such
                  motion and order have been or are being served upon the Debtor and upon the trustee (if any).

       c.         An application for order setting hearing on shortened notice was filed and remains pending. After the court
                  rules on that application, you will be served with another notice or an order that specifies the date, time and
                  place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
                  motion.


      Date:     8/22/2017                                                          McCarthy & Holthus, LLP
                                                                                   Printed name of law firm (if applicable)


                                                                                   Kelly M. Raftery, Esq.
                                                                                   Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Kelly M. Raftery
                                                                                   Signature of individual Movant or attorney for Movant




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             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1.    Movant is the:

              Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee
              under the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
              Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
              mortgage or deed of trust) or (2) is the assignee of the beneficiary.
              Servicing agent authorized to act on behalf of the Holder or Beneficiary.
              Other (specify):
2.    The Property at Issue (Property):
      a. Address:

             Street address: 155 Metate Place
             Unit/suite number:
             City, state, zip code: Palm Desert, CA 92260

      b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed
         of trust (attached as Exhibit 1): 2013-0157641, Riverside County, California

3.    Bankruptcy Case History:

       a. A     voluntary      involuntary bankruptcy petition under chapter                          7        11        12         13
          was filed on (date): 08/01/2016
       b.          An order to convert this case to chapter                   7       11         12        13 was entered on (date):
       c.          A plan, if any, was confirmed on (date):

4.    Grounds for Relief from Stay:

       a.           Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
             (1)          Movant’s interest in the Property is not adequately protected.
                    (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
                    (B)       The fair market value of the Property is declining and payments are not being made to Movant
                              sufficient to protect Movant’s interest against that decline.
                    (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                              obligation to insure the collateral under the terms of Movant’s contract with the Debtor.

             (2)          The bankruptcy case was filed in bad faith.
                    (A)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                              commencement documents.
                    (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the
                              filing.
                    (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose
                              of filing this bankruptcy case.
                    (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
                    (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition.
                              Schedules and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been
                              filed.
                    (F)       Other (see attached continuation page).

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             (3)          (Chapter 12 or 13 cases only)
                    (A)       All payments on account of the Property are being made through the plan.
                                      Preconfirmation     Postconfirmation plan payments have not been made to the
                              chapter 12 trustee or chapter 13 trustee.
                    (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property
                              have not been made to Movant.
             (4)       The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the
                    Property.
             (5)          The Movant regained possession of the Property on (date) ____________,
                          which is  prepetition   postpetition.
             (6)          For other cause for relief from stay, see attached continuation page.

       b.          Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                   § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

       c.          Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for
                   relief or 30 days after the court determined that the Property qualifies as “single asset real estate” as
                   defined in 11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly
                   payments.

       d.          Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to
                   delay, hinder, or defraud creditors that involved:
             (1)          The transfer of all or part ownership of, or other interest in, the Property without the consent of
                          Movant or court approval; or
             (2)          Multiple bankruptcy cases affecting the Property.

5.           Grounds for Annulment of the Stay. Movant took postpetition actions against the Property of the Debtor.
      a.            These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                    been entitled to relief from the stay to proceed with these actions
      b.            Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                    with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.
      c.            Other (specify):

6.    Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to
      this motion)
       a. The REAL PROPERTY DECLARATION on page 6 of this motion.
       b.          Supplemental declaration(s).
       c.          The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as
                   set forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the
                   case commencement documents are attached as Exhibit “4”.
       d.          Other: Deed of Trust attached hereto as Exhibit "1", Assignments attached hereto as Exhibit "2", A copy
                   of the promissory note is attached hereto as Exhibit " 3", and see attached Continuation Page.

7.           An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1.     Relief from the stay is granted under:               11 U.S.C. § 362(d)(1)            11 U.S.C. § 362(d)(2)             11 U.S.C. § 362 (d)(3)
2.            Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
              remedies to foreclose upon and obtain possession of the Property.
3.            Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
              modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
              servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.
              Any such agreement shall be nonrecourse unless stated in a reaffirmation agreement.
4.            Confirmation that there is no stay in effect.
5.            The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
              enforce its remedies regarding the Property shall not constitute a violation of the stay.
6.            The co-debtor stay of 11 U.S.C. §1201(a) or §1301(a) is terminated, modified or annulled as to the co-debtor,
              on the same terms and conditions as to the Debtor.
7.            The 14-day stay prescribed by FRBP 4001(a)(3) is waived.
8.            A designated law enforcement officer may evict the Debtor and any other occupant from the Property
              regardless of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing
              on this Motion:
                  without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
                  compliance with applicable nonbankruptcy law.
9.            Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
              governing notices of interests or liens in real property, the order is binding in any other case under this title
              purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
              except that a debtor in a subsequent case under this title may move for relief from the order based upon
              changed circumstances or for good cause shown, after notice and hearing.
10.           The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
              interest in the Property for a period of 180 days from the hearing of this Motion:
                  without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
                  compliance with applicable nonbankruptcy law.
11.           The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
                  without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
                  compliance with applicable nonbankruptcy law.
12.           Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
              Code § 2920.5(c)(2)(C).
13.           If relief from stay is not granted, adequate protection shall be ordered.
14.           See attached continuation page for the other relief requested.


      Date:     8/22/2017                                                           McCarthy & Holthus, LLP
                                                                                   Printed name of law firm (if applicable)

                                                                                   Kelly M. Raftery, Esq.
                                                                                   Printed name of individual Movant or attorney for Movant

                                                                                   /s/ Kelly M. Raftery
                                                                                   Signature of individual Movant or attorney for Movant


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Continuation Sheet

Carrington Mortgage Services, LLC services the loan on the Property referenced in this Motion. In the
event the automatic stay in this case is modified, this case dismisses, and/or the Debtor obtains a
discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure will be
conducted in the name of Movant. Movant, directly or through an agent, has possession of the
promissory note. Movant will enforce the promissory note as transferee in possession. Movant is the
original mortgagee or beneficiary or the assignee of the Mortgage/Deed of Trust.


#4(a)(6) For other cause for relief from stay, see attached continuation page.

The Subject Property is Debtor’s principal residence and cannot be modified through Debtor’s Chapter
11 Plan; therefore, Debtor’s only option to reorganize for the Subject Property is to repay the default on
the loan in full. Debtor filed this bankruptcy petition over a year ago on 8/1/2016 and has not made any
post-petition payments to Secured Creditor during the pendency of this bankruptcy case, causing the
default to substantially increase. Furthermore, after taking all liens secured by the Subject Property into
consideration there is no equity. Movant requests this Honorable Court grant relief from stay unless
Debtor is able to start making regular monthly payments to stop the arrearage from further increasing
during the pendency of this case.




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                                         PROOF OF SERVICE OF DOCUMENT
  I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
  1770 Fourth Avenue
  San Diego, CA 92101

  A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
  THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served or
  was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  below:

  1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
  Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
  8/22/2017 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
  following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
     UNITED STATES TRUSTEE                   TRUSTEE
     ustpregion16.rs.ecf@usdoj.gov           United States Trustee (RS)
                                             ustpregion16.rs.ecf@usdoj.gov

                                                        TRUSTEE COUNSEL
                                                        Jason K Schrader
                                                        jason.K.Schrader@usdoj.gov

                                                                                            Service information continued on attached page

  2. SERVED BY UNITED STATES MAIL:
  On (date) 8/22/2017 , I served the following persons and/or entities at the last known addresses in this bankruptcy case
  or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
  class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
  judge will be completed no later than 24 hours after the document is filed.

  DEBTOR - Russel Dennis Hiles, III, 155 Metate Place, Palm Desert, CA 92260
  DEBTOR ATTORNEY - Robert P Goe, Goe & Forsythe, LLP, 18101 Von Karman, Ste 1200, Irvine, CA 92612
  DEBTOR ATTORNEY - Charity J Miller, Goe & Forsythe LLP, 18101 Von Karman Ave Ste 1200, Irvine, CA 92612
  JUDGE'S COPY - The Honorable Judge, Wayne E. Johnson, 3420 Twelfth Street, Suite 384, Riverside, CA 92501-3819

                                                                                            Service information continued on attached page

  3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
  for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                             ,
  I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
  writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
  declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
  document is filed.

                                                                                            Service information continued on attached page


  I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


   8/22/2017                            Christian Aguilar                                            /s/ Christian Aguilar
   Date                                 Printed Name                                                  Signature




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ADDITIONAL SERVICE INFORMATION

SPECIAL NOTICE
Ronak N. Patel
3960 Orange Street, Fifith Floor
Riverside, CA 92501

Christopher T. Borgeson
Attn: Samuel Kornhauser
c/o Law Offices of Samuel Kornhauser
155 Jackson Street, Suite 1807
San Francisco, CA 94111

San Diego County Treasurer Tax Collector of California
Attn: Bankruptcy
c/o Dan McAllister
1600 Pacific Highway, Room 162
San Diego, CA 92101

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Farmers Insurance Exchange
Attn: Rebecca J. Winthrop
c/o Norton Rose Fulbright US LLP
555 South Flower Street, 41st Floor
Los Angeles, CA 90071

OTHER LIEN HOLDERS
Franchise Tax Board Bankruptcy Unit
PO Box 2952
Sacramento, CA 95812-2952

De Castro West, et al.
10960 Wilshire Blvd.,
14th Fl.
Los Angeles, CA 90024-3881

LARGEST UNSECURED CREDITORS
Riverside County Assessor-Clerk
PO Box 751
Riverside, CA 92502-0751

Law Offices of Wm. A. Brown, Jr.
865 Figueroa St., #2640
Los Angeles, CA 90017-5472

Bank of America N.A.
PO Box 26012
Greensboro, NC 27420

Loma Linda Medical Center
11234 Anderson St.
Loma Linda, CA 92354

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Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Los Angeles Collection Service Inc.
2140 Westwood Blvd., Ste. 222
Los Angeles, CA 90025

Bank Of The West
2527 Camino Ramon
Po Box 5172
San Ramon, CA 94583

Master Card
837 3rd St.
Santa Monica, CA 90403

Amex
Po Box 981540
El Paso, TX 79998

Mercedes Benz Fin'l Svcs
PO Box 685
Roanoke, TX 76262

Bighorn Clubhouse Project, MSC 614
PO Box 52163
Phoenix, AZ 85072

Mercedes Benz Financial Services
PO Box 17466
Baltimore, MD 21297-1496

Bighorn Homeowners Assn MSC 855
PO Box 29048
Phoenix, AZ 85038

Michael & Associates, PC
555 St. Charles Dr., Ste. 204
Thousand Oaks, CA 91360

Chase Card Services
Po Box 15298
Wilmington, DE 19850

Paychex
c/o CT Corporation System
818 West Seventh St. Ste. 930
Los Angeles, CA 90017



County of Los Angeles-Treas. & Tax
PO Box 514818
Los Angeles, CA 90051-4818

Porsche Financial Srvc
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980 Hammond Dr
Atlanta, GA 30328

De Castro West, et al.
10960 Wilshire Blvd., 14th Fl.
Los Angeles, CA 90024-3881

Public Storage
72150 Fred Waring Drive
Palm Desert, CA 92260

Deschutes County Treasurer
1300 NW Wall St., #204
Bend, OR 97701

Riverside County Tax Collector
Box 12005
Riverside, CA 92502-2205

Farmers Insurance Company, Inc.
c/o Stoel Rives LLP
760 SW Ninth Ave. Ste. 3000
Portland, OR 97205-2584

State Board of Equalization
Account Information Group, MIC: 29
PO Box 942879
Sacramento, CA 94279-0001

Internal Revenue Service
1973 N. Rulon White Blvd.
Ogden, UT 84201-0021

Suntrust Mortgage/cc 5
1001 Semmes Ave Va-Wmrk-7952
Richmond, VA 23224

KeyBank
PO Box 94722
Cleveland, OH 44101-4722

VCA Rancho Mirage Animal Hospital
71-075 Hwy. 111
Rancho Mirage, CA 92270-4122

California Franchise Tax Board
P.O. Box 942867
Sacramento, CA 94267

Veritext Century Reporters
707 Wilshire Blvd.
Suite 3500
Los Angeles, CA 90017

Allied Public Storage
11259 W. Olympic Blvd
Los, Angeles, CA 99064
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Christopher T. Borgeson
2150 Ladera Rd.
Ojai, CA 93023

Bighorn Golf Club-Clubhouse Project
255 Palowet Dr.
Palm Desert, CA 92260

Cindy Ellen Hiles
13327 Atwater Lane
Lake Oswego, OR 97034

Citi
Po Box 790040
S Louis, MO 63129

Eisenhower Medical Center
39000 Bob Hope Drive
Rancho Mirage, CA 92270

Deschutes County Assessor
PO Box 6005
Bend, OR 97708

Farmers Insurance Company, Inc.
PO Box 2450
Grand Rapids, MI 49501-2450

Franchise Tax Board
Vehicle Registration Collections
PO Box 419001
Rancho Cordova, CA 95741-9091

Ford Motor Credit
Po Box 62180
Colorado Springs, CO 80962

Keybank NA
4910 Tiedeman Rd (Rtg Code: 08-01 -
Brooklyn, OH 44144

Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952

Barclays Bank Delaware
Po Box 8801
Wilmington, DE 19899

Internal Revenue Service
PO Box 145566
Cincinnati, OH 45250-5566

Internal Revenue Service
225 W. Broadway, Ste. 200
Glendale, CA 91204-1345

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Mb Fin Svcs
36455 Corporate Drive
Farmington Hills, MI 48331

Central Electric Cooperative, Inc.
PO Box 846
Redmond, OR 97756

Farmers Insurance Co.
6301 Owensmouth Ave.
Woodland Hills, CA 91367-7000

Katz Cassidy
11400 W. Olympic Blvd., #1050
Los Angeles, CA 90064

Law Offices of Ryneal & Ryneal
3890 11th Street, Ste. 116
Riverside, CA 92501

Public Storage
11259 W. Olympic Blvd.
Los Angeles, CA 90064

Cranfill, Sumner & Hartzog
PO Box 27808
Raleigh, NC 27611-7808




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